 

 

Case 3:22-cv-02174-K-BT Document17 Filed 11/21/22 Page1of8 PagelD 83

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

 

-TIANIKWA :HAYWOOD
AND

:PAUL-DOUGLAS :CELESTINE

OWNERS

TEXAS REALATOR,
CEO OR OWNER
MACKIE, WOLF, ZIENTZ
MAN; P.C. LAW FIRM;
STANFORD & KURLAND
OWNER OF PENNYMAC
LOAN SERVICES, LLC:
SONYA LUECHAUSER
CEO & PRESIDENT
DHI-MORTGAGE
COMPANY LTD.:;

TIM NICHOLSON

VICE PRESIDENT
PENNYMACLOAN;
SANDRA NASEEF

DHS TITLE CO.;

JOHN DOE; JANE DOE

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Corrected Motion

 

Civil Action
No. 22-CV-2174-C

 

PLAINTIFF’S OBJECTION AND ANSWER TO THE DEFENDANTS DHI MORTGAGE
COMPANY’S AND DHI TITLES MOTION TO DISMISS PennyMac Loan Service and
Mackie, Wolf,Zientz ,Mann P.C.

 
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COMES NOW, :Tianikwa :Haywood and :Paul-Douglas :Celestine, Pro-Se state that the
above Defendant committed fraud by contract in that under the Law of Contract used word in
their contract that had double means thus committing fraud by the grammar which violated
TITLE 18 U.S.C. §1001 knowingly and willfully. The Defendant committed fraud by the
fraudulent statement by grammar in their contract that falsehood and deceptive trade practice all
with the same goal to further the conspiracy (R.I.C.O) of each corporation to steal the Plaintiff s
land. Thus, the Plaintiff has stated such a claim. Both Plaintiffs Tianikwa :Haywood and
:PaulDouglas :Celestine investigated the alleged contract each word was checked under C-S-S-C-
P-SG, Correct Sentence Structure Communication Parse Syntax Grammar, by the Defendant’s
contract there was a misrepresentation of an agreement and violated the Due Process clause of
the United States Constitution. [U.S.C.A. Const. 5" and 14° Amend]. Before the Plaintiffs move

forward the invoking of Maritime Law and Federal Law.

Now the Defendants each committed common law fraud. The loan contract application is
void by the boxing and framing. Thus, the Penny Mac Loan is void and the Plaintiff by those
facts owes no one and all the monies need to be returned immediately. 42 U.S.C. §1986 the
Plaintiffs are whistleblowing on Penny Mac Loan Company for fraud, thus all of Penny Mac

Loan Company’s applications are void as a matter of law.

The Plaintiff has stated several claims, thus F.R.C.P. 12(b)(6) do not apply. The fictitious
conveyance of language with the grammar is about 50 years old. The law is not new. The
Supreme Court of the United States of America recognizes or identifies with the knowledge.
Counsel must study, meaning the Defendant’s counsel. For 8,500 years has harvested human

beings with adverb-grammar.
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The whole system and structure of language or languages in general usually takes as
consisting of syntax and morphology including infectious and sometimes phonology and
semantics. The grammar is constitutionally incorrect [U.S.C.A. Const. 14" Amend] in that the
contract or judgment violated TITLE 18 U.S.C. §1001. The Due Process of Law requires the
Defendants to produce the Correct Sentence Structure Communication Parse Syntax Grammar of
the document or contract requested as discovery and will be a level II discovery. Under the notice
of fraud on the court by the Defendants conduct under the Law of Contract has attempted to
commit theft against the Plaintiffs Tianikwa :Haywood and :Paul-Douglas :Celestine with failure
to give notice by the fraudulent document or contract which was not a mistake because the
document as engineered and is a violation of law. [Tex. Rev. Civ. Stat. Ann..1-10, 1-19, 129]

[U.S. Const. amend. 4", 5", & 14").

The United States Supreme Court has allowed the use of C.S.S.C.P.S.G. in Supreme
Court debates grammar syntax. Case Law: |. [Facebook Inc v. Duguid] No. 19-511 (Dec. 8",
2020). 2. [People v. Crabtree] 2002 C.O.A. 73 (Colo. App. 2022). Both truth and facts shall

come before the court. [Under Maritime].

Under Maritime Law and Now Time, there is no fiction by its authority. [U.S. Const.
Amend. 5", & 14""]. The Plaintiff has rights protected under Maritime Law that cannot be
infringed or encroached upon by a violation of law. The Plaintiff has performed the Correct
Sentence Structure Communication Parse Syntax Grammar on the contract thus the document is
no contract. The United States District Court has proper jurisdiction by the fraud, violation of
Due Process of Law and The Civil Rights Act of 1964: Equality by the conduct of the

Defendants.
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PRAYER

The Plaintiff now invokes Maritime Law where Now Time of facts and truth can enter

this Honorable Court. The Plaintiff has shown harm in which Tianikwa :Haywood and

:PaulDouglas :Celestine may receive legal redress. The Plaintiff humbly prays that the Honorable

Judge deny the Defendants’ Motion to dismiss. Thank you!

Respectfully Submitted,

:Tianikwa :Haywood

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:Paul-Douglas :Celestine
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CERTIFICATE OF SERVICE

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United States District Court
1100 Commerce Street Room 1400

Dallas, TX 75242

Date: L) -/7-422

Date: [/- 47-2 2
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CERTIFICATE OF SERVICE

No Bull Investments LLC
PO Box 413
Waxahachie, TX 75168

Mackie, Wolf, Zientz & Mann P.C.
Parkway Office Center, Suite 900
14160 Dallas Parkway

Dallas, Texas 75254

Pennymac Loan Services, LLC
P.O. Box 514387
Los Angeles, CA 90051-43007

DHI-Mortgage Company LTD D.R.
Horton INC.

6761 N. Freeway, Suite B

Fort Worth, TX 76131

Executive Vice President
Penny Mac Loan Services, LLC
Moorpark, CA 92021

|
Tin Nicholson
Case 3:22-cv-02174-K-BT Document17 Filed 11/21/22 Page6éof8 PagelD 88

Sandra Naseef

DHI-Title

6761 N. Freeway, Suite B
Fort Worth, TX 76131

DAI Mortgage Company LTD

DHI Title of Texas, LTD

H.R. Horton Insurance Agency, INC.
Moorpark, CA 92021

:Tianikwa :Haywood

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:Paul-Douglas :Celestine

Date//- t/- Ap

 
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3520 JENSEN DR
HOUSTON. TX 77026-9998

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10/03/2022 10:35 AM
Product Qty Unit Price
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Flat Rate Env
Calabasas, CA 91302
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Expected Delivery Date
Thu 10/06/2022
Tracking #:
9505 5130 1992 2276 4049 54
Insurance $0.00
Up to $100.00 included
Total $9.90
Priority Mail® 1 $9.90
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Moorpark, CA 93021
Flat Rate
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9505 5130 1992 2276 4049 61
Insurance $0.00
Up to $100.00 included
Total $9.90
Grand Total: $19.80
Cash $50.00
Change ~$30.20

Text your tracking number to 28777 (2USPS)
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